                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    GREEN BAY DIVISION

                                                    )
T&M INVENTIONS, LLC,                                )
                                                    )
                                       Plaintiff,   )
                                                    )
                         v.                         )        Case No. 14-cv-947 (WCG)
                                                    )
ACUITY BRANDS LIGHTING, INC., et al.,               )
                                                    )
                                    Defendants.     )
                                                    )

                          T&M INVENTIONS, LLC'S MOTION
                    FOR ATTORNEYS' FEES AND NONTAXABLE COSTS


           Pursuant to Fed. R. Civ. P. 54(d)(2) and 35 U.S.C. § 285, Plaintiff T&M Inventions, LLC

("T&M"), through its counsel, hereby moves the Court to award its reasonable attorneys' fees

and nontaxable costs, because T&M is the "prevailing party" and this case is "exceptional"

within the meaning ascribed by the U.S. Supreme Court in Octane Fitness, LLC v. ICON Health

& Fitness, Inc., 134 S. Ct. 1749 (2014). In support of this Motion, T&M relies upon all

pleadings of record in the above-captioned action, as well as all pleadings in T&M Inventions,

LLC, et al. v. Acuity Brands Lighting, Inc. et al., Case No. 12-cv-91, and the supporting brief and

declarations filed herewith.




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           Dated this 15th day of June, 2016.

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